
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs, to the respondents against the board of education.
We would note that under the circumstances of this case the petitioning students had no reasonable expectation of receiving a high school diploma without passing competency tests. Nor on the record can it be said that they were denied adequate notice of the requirement, in view of the fact that the regulation had been in effect for three years prior to the completion of their studies. For the reasons stated in the opinion of Presiding Justice A. Franklin Mahoney at the Appellate Division, the petitioners’ other contentions do not warrant the relief requested.
*762Chief Judge Cooke and Judges Jasen, Jones, Wachtler, Meyer, Simons and Kaye concur in memorandum.
Order affirmed, etc.
